
662 S.E.2d 668 (2008)
HEATHERLY, et al.
v.
STATE of NC, et al.
No. 317A06-2.
Supreme Court of North Carolina.
May 27, 2008.
Jeanette Doran Brooks, for Heatherly, et
*669 Jack Holtzman, Raleigh, for Williams, et al.
Norma S. Harrell, Ronald M. Marquette, Special Deputy Attorney Generals, for State of NC, et al.
Kevin W. Benedict, Raleigh, Joseph D. Henchman, for Tax Foundation.
The following order has been entered on the motion filed on the 19th day of May 2008 by Tax Foundation for leave to file Amicus Curiae Brief:
"Motion Allowed. Unless already submitted, the Amicus Brief shall be submitted to the court within the times allowed and in the manner provided by Appellate Rule 28(i). By order of the Court in conference this the 27th day of May 2008."
